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      Exhibit 21
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IEEE-SA    IEEE     802.11    and Antndmcnts                  Patcot            Lcttcrs               of    Assurancc                                                     http//standards.iccc.org/aboutIsasb/patcom/pat802                  11   html




                  802.11         Internet-                     Director            of Licensing                       not    Indicated             237w                  yes          Feb

                                 lonal       BusineSs                                                                                                    02                           02

                                 Machines             Corp

                                 North       Costle

                                 Drive        Armonk

                                 NY       10504


                  802.11                 Inc                   fmamerie                                               not    indicated            20         Oct
                                 Novell                                                    Messenger                                                                     yes

                                 1855 North                    Chief         Patent         Counsel                                                      95


                                 Thcheoiogy                    tel     1-801               225       5000

                                 Way         Mail    Stop      fax      1-801-222-5077

                                 A-232           Gram
                                 Utah

                                 84057-2399


                  802.11         Proxlm             Inc        KeIth               Giover             VP              5231634             US      1.9.919                yes

                                 295       North               Finance             and                                5412687             US             9.9


                                 iternardo                     Administration                        tel              5077753             uS

                                 Avenue                        1-415-980-1630                              lax

                                 Mountain           View       1-415-964-5181

                                 California

                                 94043


                  802.11         Advanced                      Robert          Krueger                 VP             not    Indicated             3J91                  yes

                                 Micro        Devices          I/O     and                                                                               95
                                 Inc          One     AMD      Networks                    Division

                                 Place                  Sos    tel     1-408-732-2400

                                 3453

                                 Sunnyvale

                                 CaliFornia

                                 94088-3453


                  602.11         Aironet                       Roger                 Murphy            Jr             5276680             US             Dec             yes

                                 WIreless                      President                                          2040234            Canada              95
                                 Corn      mun                 tel            216          665-7914                       PCT1CA92/

                                 ications            Inc      fax       1-216-665                    7986                   00149

                                 P.O       BoX      5292

                                 Fairlawn           Olin

                                 44334-0292


                  80211          ATT          150              Gene                  Partlow                          not    Indicated             1j.5.rL               yes

                                 Allen       Road              Intellectual                                                                              92
                                 Suite       2009              Property              Vtt


                                 Liberty         Corner        tel            908          903       5223
                                 New       Jersey              tax      1-908-903-6321
                                 07939


                  802.11         Samsung                       Huy      Nguyen                                            none    known                  Dec             yes

                                 Electr-                       email                                                                                     95
                                 onics        -Cypress         linguyen@att

                                 CA



                                 Sharp        Corp             Hiroirisa           Wakal                                  none    known           12         Dec         yes

                                 lentil      SARA              Supervisor                                                                                95

                                 632       Japan               lTRI.-t                        13
                                                                                                   Group
                                                              tel      8174365                      2465
                                                              tax       -s    81     74365           2163


                  802.15         SpectnxCorp                         Thomas                                       5247380            US    also   28         Sep         yes

                                 906      UniversIty           Eaumgartner                          Vice         others     not    dentitied             93

                                 Place                         President                   iei



                                 Esanst       no                     75 4n                  4534
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                  802.11         Cymbol             Tech       Richard             branman                            not    Indirated            2.2_rt.L               yes

                                 nologles             Inc     Senior           Vice           President                                                  912


                                 One      Symbol              tel      1-515               738-7400

                                 Plaza

                                 Holtsaiie            NY

                                 11742 -1300


                  80211          Andro                        Peter          Riorneyer                                not    Indicated            00         Nov         yes

                                 MeDa GmBU                    Preside           it                                                                       93
                                 Benzstr.30                   tel      49-89               89014       50

                                 82178                        lax      49          89-806040

                                 Puchhelm-Phf


                  802.11         Apple                        Paul             Carrrichae                            4695         78615                luI     93   no     letter



                                 Computer             Ore     Director                                                     651.902        Us                             only

                                 Infinite        Loop         Patents           and                                                                                 IdentIfies

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IEEE-SA   IEEE     802.11    aal    Artcndnicnts                  Patcrfl           Lcttcrs              of     Assurancc                                                           http//starards           iccc.org/aboutsasb/patcompat8O2_1          html




                 80211             Apple                                  Randall         Gard                            see      above            24       Jun                  yes            10 Sep

                                   Computer                       Senior            Patent          Counsel                                                96                    grants               97

                                   continued                      tel       1-408-996-1010                                                                             essurance

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                                                                                                                                                                                 letter



                 802.11            Apple                           Mark        Aaker-          Attorney                5408506                US    12       Jun                   yes           12    Jsn


                                   Computer                       Legal            Department                          5835121                US           OS                                         06

                                   Znc             InfInite       3-PAT                                                6069887                US

                                   Loop          Cupertino        teL       1-408-974-4347

                                   CA      95014                  lox

                                                                   4-1-400-974-5436
                                                                  email             aaker@

                                                                  apple            corn
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                                                                  wwvx.appie.cosn



                 802.11            Norarsd             Corp        Ronald                 Mahaney                           910       794      US   11      Aug             Letter         of    10    Sep

                                   550       Second                Director                                             5070536               US         93            20          Jun      97        97
                                   Street         SE              of      Systems                                     632055         AustralIa             Mar                   grants

                                   Cedar          Rapids           Development                                       1316218              Canada         96            assurances

                                   IoWa          52402            tel       3-319-359-3100                                                          20       Jun

                                                                  tax         1-319-369-3453                                                               5.7




                 802.11            Digital          Ocean         Jeffrey              Aihoim                           not     indicated           no.d.st.e                      yes

                                   11205                          CIriet



                                   TIrompsorr                      Executive              Officer

                                   Avenue                         tel       1-913-088-3380

                                   Lenexa           Kansas        fan         1-     913-888              3342

                                   662 19-2303


                 802.11            Luccnt           Tech-         errv         55     Partlon                           nor     Inttlcatect         ICJJ.10                        yes

                                   nologies                        Intellectual                                                                            2.5


                                   Suite         200       150     Property            Vice         President

                                   Allen         Road              tel             908       9123        6222

                                   liberty         Corner         fax-              908-903              6321

                                    12     07938          1995


                 802.11            RSA           Data              Paul       Gordon                Dlectou              rot      ndlcatect            J.IL                        yes

                                   SecurttV               Inc      of     Sales                                                                            95
                                         100      MarIne          tel       1-415            595         5/52

                                   Parkway                        fax               415       595-1873

                                   Redwood               City

                                   CA      94065


                 002.11            Victor                          Potent           Agent            Serge             2068579            Russia      29         Jul                             22    Aug
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                                   Dorokhn                         Komarltsicy                 Director                                                    96                                         00
                                   Peterrtee                      Corunrercial                 Consultivy

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                                                                   Moscow              Russia

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                                                                            095-251                 26    53

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                 002.11            Toshiba                         David               f-farshman                       5467341               US    23          Jun               Letter          3Jurr

                                   America                        Assistant              General                                                           97                    grants               99
                                   Inform-                         Counsel                                                                                                        some
                                   atiort                         tel       1-714-583                    3517                                                          assurances

                                   Systems Inc                    tax               714       587-6235                                                                             but

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                                   9740          Irvine
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                                   Telephone                       Manager             Intellectnal                                                                         licensing

                                   Corp           20-2             Proeprty            Department                                                                           conditron

                                   Nishi                          tel       81        -3-5353-4379

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                                Shlnjuku
                                ku      rokyo

                                163-1419

                                Japan



                802.11          Alantro                       Chris      i-lccgard      CEO           not     indicated       jQJ5                     yes      but               Jun

                                Communi-                       tel     1.707-521-3060                                                            electronS                       09

                                cations             Inc        lax      1-707-520-3066                                                                 COI           of


                                141      Stoney               email       heegard5l                                                             letter         Is     not


                                Circle           Suite        aiantrocori                                                                              signed

                                210       Santa

                                Rosa        95407


                802.11          Lucent            Tech-       John         Dickson                    not     indicated       2.2.Aor           letter         notes              Jun

                                nologlee                      Group       President                                                 95          release              of          99
                                555      Union                                                                                                        product

                                ltoulevard                                                                                                       which              will



                                Room                                                                                                            be      covered

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                802.11                                        David            Beberman               not    indicated                   Star             yes               16        Oct
                                Corporate
                                Wva          Net              tel      1-506-351-9492                                               02                                           02


                                Inc        104      otis      tax       1-508-393-3205

                                Street           Suite        email       cwnji9t

                                29      Northboro             worldstdcom

                                MA    01532



                802.11          Nokia            Corp         liarri    l-ionkasaio               09/613952              US   12         Nov              yes               12    lOon

                                Kelialahoentle                Director      of   IPR                   PCrjlOol/-                   02                                           02

                                2-4       FIN                 tet      358-718008000             01230

                                02150            Espoct       fax       358-718034496                         wo
                                Finland                       email

                                                              harrt.hontasaio@

                                                              nokia.com


                802.11          Nokia                         Harri     Honkasalo                     5640355         US             Apr               yen                       Apr
                                             Corp                                                                                                               14



                                Keilaiahoentle                Director      of   IPR                  5729534         US            03            separate                       03

                                2-4       FIll                tel      358-718008000                  5729541         US                                LOAs

                                02150            tspoo        fax       358-7180344%                  5802405         US

                                Finland                       email

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                802.11          Nokia        Corp             Harrl     i-lonkasaio                    US     200201-         19         Jan           yes      f4          19    Jan


                                Keliaiatloentie               Director      of   IPR                        60769                   04            separate                       04

                                2-4       FIll                tel      358-71800e000                   WO 20030-                                       LoAsI


                                02150            Espoo        fax      358-718034496                         2412

                                Finland                       emaIl                                    US     200300-

                                                              harri.honkasalov9r                 50012         6587680
                                                              nokia.com                          US    WO 01/39538
                                                                                                      WO 02/05490

                80210-2007      Nokia        Corp             lcaiie    Molianen                      5987137         US      29__LiJO                    yes               19    Feb


                                                                IFS                                   6118775         US           .57                                           10
                                                                    Manager
                                                              Joensuunkatu                            6535979           US

                                                              FIll     24101     Salo                 6449473         US           01
                                                              Finland                                 6587      StO     US

                                                              tel                                     6642      665 US

                                                              358        50-366        2022           5640395           US    7Sep
                                                              lax                                     5729534         US           US
                                                              -358       7150-44275                   5729541           US     15          cx

                                                              email       kalie.moiianen@             5802465         US

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IEEE-SA    IEEE     8021          aml Aincndmcnts                   Patent             Uttcrs              of     Assurance                                                http//siaalards.iecc.org/about/sasb/patcompa1802_1              .html




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                  802.11               NokIa                         Katie       rlollanen-IPR                           200600-79241                     LQE1             yes       23     t2eC


                                       Corporahon                    Manager                Joerrsnunkrrtu              US 7120862                            6.0                          11

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                                                                     358-7180-44275                                     7751396         US               .3jJxjSL

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                  4i17     11          Fujitsu                       Shigerri             Kilarro-Ceneal                  6018642             US                           yes       iLl    Rep
                                       Limited                       Manager                 Standards                         629377         jP                                           07


                                                                     Center
                                                                     Law            Intellectual


                                                                     Property

                                                                     Unit         1-1

                                                                     Kamikodanako

                                                                     4-chome                     Nakahara-kmr

                                                                     Kawoskl                     Kanagawa

                                                                     211-8588                    Japan
                                                                     tel     81-44                  754-3050
                                                                     ax          181         44     754        3842

                                                                     email             kitarro



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                                                                     URL         wwsn.tultu
                                                                     corn/global/



                  902.11               CSR       plc                 Anne         McAleer               Patent            not     indicated               Cljy                              Mar
                                                                                                                                                                           yes

                                                                     Manager                 Corporate                                                          n.j                        Ca

                                                                     Unit     400            CambrIdge
                                                                     Science              Pi            Milton

                                                                     Rood

                                                                     Cambridge                     CR4         OWH
                                                                     Great        Brllairr


                                                                     tel     44-1223-6928t8
                                                                     tax

                                                                     44          1223-692001
                                                                     email             Anne.McAleerr5i

                                                                     csr.com
                                                                     URL         www.csr                corn




                  1107     11          Avaya          Inc            Eugene              R1kay            VP              not     inclrrated             19          Nov   yrs       l9Nos
                                       211     Ml      Al            Ruorri         3W524                                                                       03                         03

                                       Road      Rasking             tel                 900        957        9640

                                       Ridge     NJ                  tax      -11         958       953        32/4
                                       37920        2332             email             epolkayly

                                                                     ana    pa         urn



                  902.11        200/   Konrnlr              Iijke    CairO        Libeiriuk                henioi         not     Indicated              ii          Jdt   yes        15        Jan

                                       Philips         Electr        lP                                                                                         lit                         10

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                                                                     345      Scarborough




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                                                                         Road        Briarcllif           Manor
                                                                         NY      10510         tel

                                                                         i-1-914-333-9602

                                                                         email        iarry.llbarchukig

                                                                         phlllps.com



                 80211                  Kapach                           Oliver       Nagy             IF                   not   IndIcated        221612   yes        23        Feb

                                       iralficCom                  AG    Manager                                                                     10                     10


                                                                         System         Engineering
                                                                        Am       Europiata

                                                                         A-1120         Vienna

                                                                        Austria

                                                                         tel     43-50811-2402
                                                                        fax

                                                                         43-60811-99-2402
                                                                        email         oliver.nagyfl

                                                                         kapsch.net



                 802.11                 Renesas                          Marja       LIsa      Autti-Seflior                not   Indicated         LJ1y    yes             Nov
                                       Mobile                            IPR Manager                                                                 11                     11


                                       Corporation                       Patenting

                                                                         Porkkalankutu                 24

                                                                        00180         Helsinki


                                                                         Finland         tel

                                                                         35840591                  5095         fax

                                                                         358947892666
                                                                        email

                                                                        marjaiilsa.auttl@t

                                                                        renesvsmobllecom
                                                                        URL        Www
                                                                        renesasrnoblie.corn




                 802.11                Nokla        Corp                i-tarn     Honkasalo                               6359904            US     Aug    yes             Aug

                 802.lln               Keilaiahoenti                    Director                                           9909724            WO     04                     04


                 802.ilg                         FIN                    of     IPR

                                       02150           Espoo            tel      358-718008000
                                       Fl8land                          ran       358-718034495

                                                                        email         harri

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                                                                        nokiacom


                 802.11                Tale-                            Kanim        Alfaiahl                               not   indicated        Z2.J6n   yes       11     Feb


                 spedfic               toiriaiebol-aget                 licensing                                                                    03                     03

                 rnantloii     of                Erlcson                F4anagei

                 802.ila               Telefonvagen                     tel      4687191148
                 802.llb               30       SE-12625                ran      4687191112
                 80231e                Stockholm                        email


                 l302.I1F              Sweden                           kaslmalfalahlfl

                 802.11g                                                lme.erlcsnon.se

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                 802.11-2007                                                                   thong-                       not   indicated        Ltl1dr             31     May
                                       Samsung                          Mix      Hyunq                                                                      yes

                 902.IIn               8iartroniec                      SPnlor        Vice        President                                          11                     11


                 802ilr                Co Ltd                           Intellectual               Property

                 802llac                                                Center         416          Fluetaix



                 802.Jlad                                               3-dong          Yeongtong-gu
                                                                        Suwon          Si

                                                                        Gyeonggi-do                   443-742

                                                                        Korea         iei

                                                                        82-31-279                   8001            fax-

                                                                        82-31-279-0514
                                                                        email         rnirth.chug5

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                 802.1    lv           LuceIit         Tech-                                                                not   indIcated        L7JOC    yes             Jun
                                                                        Roger               Stricker

                                                             Suits      Intellectual                                                                                        01
                                       noioqies                                                                                                      135



                                       2000        150       Allen      Property         Vice         President

                                       Road        P.O       Box        tel      1-908-903-6271

                                       1995        liberty              ran      1-908-901-63t7

                                       Corner          NJ

                                       07   93 8-109


                 802.lla                                                Contact                                            5487      069      US   31cc               19     Oct
                                       CSTRO            Tele                                 Derrls                                                         yen

                                       cOmmuni-                         Redfern-Genetal                                                              55                     04

                                       cetlons                          Manager             CSIRO

                                       Industry                         Business            Development

                                       Physics           Cer            and

                                       Vimlera                          Commercial

                                       Perribroku                       ization        P0          8ox         93
                                        loads                           North        Ryde          NSW          1670

                                       Mars8      led       86W         Australia           tel


                                       2122       P0        Box         61-2-94908260
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                                   NSW          1710               email

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                 802.lia           Breeze                           Contact              Smadar                     not     Indicated                   uMay                 yes          JJun

                                   Corn         Ltd                 SIlk                                                                                     98                                99

                                   Atidim                           Corporate             Counsel

                                   Technology                       tel      972-3-645-6262

                                   Perk         Bldg                fax      972-3-645-6290

                                   Tel     Aviv      61131          email

                                   Israel                           naflaiic@

                                                                    breeZecom.cvil




                 802lin            NEC Corp                7-I      Scold         Kyomoto                           not     Indicated                  20         Feb    yes     with          JUn


                                   Scheme                           General            Manager                                                               98            cross               99

                                   Mlnato-ku                        Intellectual                Property                                                                 Hcenslrig

                                   Tokyo          008-01            Division                                                                                                       ire
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                                   Japan



                 802.1    lxi      RadioLAN                         Letter        from        Reza      Ally        not     indicated                             Mar        yes          3Jun

                                   Inc            455               ConIact              Clay        nail                                                    Oil                               99

                                   DeGulgne               DI        CEO            President

                                   Sunnyvale               CA       tel           408-524-2600
                                   94086                            fax           408-524-0600


                 802.hia           WiLAN             Inc            Hatim          Zaghiosi                         not     Indicated                         .lsl           yes               Jun


                                   300-801                          PresIdent                                                                                56                                99

                                   Manning               Road       CEO                                                                                 9J6Q1

                                   Calgary               Alberta    tel      1-403            273      9133                                                  96

                                   T2E       825                    fun            403-273-5100
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                 902.lla           France                           Mr      Luc        Savage-                     FR 265801/                  013     16         tiDy          yen       22     Jul


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                                    Drive          San    Jose      Legal       Dept                                                                 06

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                                    flologies               Inc      Management

                                     147 West                        Engineering

                                     Election          Road         tel        -4-1          -801       -838-7878
                                    Suite        110                fax               -4-1     801-838-7879

                                    Draper          UT              email                    sriclierds@

                                    84020                           sentorcecorn                              URL
                                                                    wwwsenforcom


                802.llg             Supeyod                         Colum                    Caldwell              CEO           not         ledlcated              12           Mar          yes

                                    Corn muni                       tel        4-353-1-677-9555                                                                           01

                                    cation          Lid       do    fax               353-1               077-9642

                                    Sandyford                       email                    colum.caldwelllpi

                                    Village                         supergold.com

                                    Sundyford
                                    Dutller         18
                                    Ireland




                802.119             Texas          Instru            Letter                 from            signed               not         ledlcated              16           Jan    yes     plus

                                    ments Inc                       by                                                                                                    01                  one

                                    P.O      Eoe                          Earle               Thompson                  Sr

                                    655474             MIS          Counsel                       Texas                                                                                 freel       for



                                    3999           Dallas           Instru                 meets                                                                                        TOg     Nigh

                                     lOi   75265                    tel        4-972-917                            5557                                                                   Rate

                                    7839         Churchill          email                    e-thompson                                                                                 Standard

                                    Way          M/S     3999       tl.corn

                                    Dallas          TX

                                    79251


                802.119             WiLAN              Inc           Hatlm                   Zaghloul                            not         indIcated              2..2Jo                    yes

                                    300          801                 President                                                                                            0.11




                                    i4unnlrr9          Road               CEO
                                     RE      Calgary                tel        4-1-403                   273        9133
                                    Alberta            Canada       fax               4-1-403             273       5100
                                    TIE      835                    email                    hatirnz@

                                                                    wliancorn



                802        ig       Intersil           Corp          Paul             Be      rkopt           Chief                   10/295596                                  Jul          yes         21    Api

                                    2401         Palm       Bay     Counsel                                                         60/440576                            02                                    03

                                    Road         Palm         Say   tel                       32.1        /2.9      4/15            611/41/054                      updateS
                                    FL     32905                    emaIl                    pbernkop@                          60/423813                            t.A.Dx


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                902.119             Philips                          Michael                  Schmitt                            not         indicated              LLjin                     yes         29    Jan

                                    Semicond                         Principal                                                                                            0.7                                  01

                                    uctors             Inc          Attorney                        Philips

                                    PC     Box 3409                 CoIpor                  ate

                                    851          Argues             Intellectual                        Property

                                    Aye       Sunnyvale             580          Wtite               PlaIns         RO
                                    CA     94088-3409               Tarrytown                         NY 10591

                                                                    tel        1-914-332-0222


                802.119             Broadcom                        James                           Bennett-                     not         indicated               71vop                    yes         16    Oct

                                    Corp         16215              DIrector                   of                                                                        0.7                                   02

                                    Alton        Parkway            Intellectual                        Property

                                    P0     Sos      57013           tel        -1-1-949-450-8700

                                    lr1lrreCA                       fax               4-1      949        450-8710

                                    92619           7013


                807        lg       Agere                           Caroline                          Liott                            151      920 US              Lojuoti                   yes         21    Feb

                                    Systems               Inc       Manager                                                      5546           420      US              0.3                                   07

                                    1110         Ame        man     Licensing                        Intellectual                5706428                 US         updated

                                    Parkway            NE           Properly                                                           751739            US                      LoS

                                    Room         32C-350            tel        1-610                     712-3474                      862      182      US

                                    Allentown             PA        tax                                                          6404732                 US
                                    18109                           1-610-712                             3467-                  6452           958 US
                                                                    emaIl                    cllott@                             6563786                 US

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                802119              Atheros                         Adam                   lachner            tP                 not         indicated              J.Jdoy                    yes              May
                                    Communi-                        Counsel                                                                                                                                    03

                                    cations            Inc          tel        --1            408        773        5700

                                    529 Almaror                     lan          1-408                    773       9905
                                    Avenue                          cmvii                    IegairG

                                    Sunnyvale               CA      aiheros                   ruin

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                802.llg             France                          Mi                                                         FR     265801                  GB    16
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                                 F-92794           Cede    FT/RD/Ply           tel                   4881241         Dl

                                 OIssy      Ens            33345296158                          69110716.1                FR

                                 Mcallneaux                tax      33145296560                      2660131         GO

                                 FrSnce                    email        iucsavage@                   0448492         US

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             802   hg            France                   Mr      Luc    Savage                 FR 0694505                08        28    Feb   yes        22    Jul


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                                 38    40   rue    do     Property         and    LicensIng          2697395         EP

                                 General      Leclerc     Director                               0594505             Dl

                                 F-92794          Cedex   fl/ROt        NV tel                   0594505             FR

                                   Issy     Ins           33145296158                            2604316             SE

                                 Moullneaux               lax       33145296560                      0296175         IT

                                 France                   email       bc savage1                 0296175         US

                                                          orange-                                4881241             NI

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             802   hg                        rue          Pascal        Scomazzoll                                                  10    Jan   yes       31     Jail



                                 Marconi                  lPl4anager                             2660131         GB                      05                     05

                                 F-57078          Metz    tel     33387207588                    0448492         135



                                 C101X                    fax     33387763363                   5197061         US        Re


                                 France                   email         pascal                36430      FR    2658017

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                802119        TPF          rue           Pascal          Scomazzon-                        OP 0448492                      FR        Aug    yes            AUg

                              Marconi                    IP       Manager              Prospection             2660131                DE             06                    06

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                              Frunce                    fax           -r-33387763363                            2658017               OP

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                802.llg       Symbol          Tech-      Aaron           Bernstein-                            not     Indicated                            yes                 Jul

                              nologies           Inc     VP            Deputy           General                                                                            06
                              One      Symbol            Counsel

                              Plaza                           e.jal     Dept

                              Hoitsylile         NY      115

                              11742-1300                 tel          1-631-738-4055

                                                         fax          1-631-738-4110
                                                         email               aaron

                                                         bernsteinW

                                                         symbol corn
                                                         0.81           aww
                                                         symbol .com


                80211g        Fujtsu                     Shiqeru               Kitano-Geneml                         097948            JO       22     5p   yes       24    Sep
                              Limited                    Manager                Standards                                                            07                    07

                                                         Center
                                                         Law

                                                         Intellectual                  Property

                                                         Unit           1-1

                                                         Kamlkodanaka

                                                         4-chome
                                                         Nakahara                ku

                                                         Kawasaki
                                                         Kanagawa                    251       8588
                                                         Japan
                                                         tel          -cOt      44      754-3050
                                                         tax          -ctl-44            154      1842
                                                         email                itarro       shlur     u@
                                                         tp      fufltsu        corn

                                                         URL            awls         fulrtsu

                                                         com/

                                                        global



                352.11g       Cusco                      Dan          Lang-             rector                 not     lrxcilcatexJ             LLLeL                 12    Dec
                                                                                                                                                            yes

                              Systems Inc                POtents                                                                                     112                   C7

                              170        Tesmsrn         and          Standards             IPR
                              Drive      San     Jose    Legal               Intellectual

                              CA      95134              Property

                                                         tel          1-400-526-5672
                                                        fax           1-408-526-5952
                                                        email                standards            Ipr@

                                                        cisco.com




                802.lIg       Thomson                    Davd            12     HerrIng                   EP   0439535                Il US                 yes            Oct

                              Licensing                  Director              Licensing          in                 5315557                                               15

                                                         Intellectual
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                                                                    and      LicensIng

                                                                    Independence                       Way

                                                                    Suite       110          Princeton            NJ

                                                                    08540             tel

                                                                    1-609-734-6855                               fan

                                                                    4-1-609-734-6885
                                                                    email            duvid.herringW

                                                                    tethnicolor.com




                    802.1111        PhIlips                         Michael            Schmitt                             not       indicated         2J.J1Jtl          yes        29      Jun

                                    Smicond-                        Principal                                                                                ILL                          01

                                    Uctors            Inc           Attorney              PhilIps

                                    P0      Box 3409                Corporate               Inteilctual

                                    811           ArgUes            Property

                                    Aye      Sunnyvale              980      White           Plains        Rd

                                    CA      94088-3405              Tarrytown                NY        10591

                                                                   tel                 914-332-0222


                    802.1111        Bi-oadcom                       James                 Bennett                                 letters       one     10         Jul   yes        23          Jul



                                                  16215             Director           of    Intellectual                               and one                                           01
                                    Corp                                                                                 general

                                    Aiton        Parkway            Property                                                      related    to

                                    90 Box            57013         tel                949-450-8700                    submIssion 802.13/

                                    Irvine         CA                         1-949-450-8710                                       01-217

                                    92019-7013


                    802.llh         Agere                           Viren       14        Puthare                          not      Indicated           jy               yes        13     May

                                   Systems Inc                      Mana5er-                                                                                 03                           03

                                    1100         AmerIcan           Licensing                    IP    Room

                                    Parkway             NE          120-347

                                   Allentown             PA         tel      1-610-712-6906

                                    18109                           faX 1-610-712-3467

                                                                    email            patharm5

                                                                    aqere          corn



                    8021111        Atheros                          Bernice                 Ciie                           not      Indicated          iiLuJ             yes        24          Jul

                                   Communi-                         Director           of    IP                                                              131                          07

                                   c6tions              Inc         Legal          5480          Great

                                                                   America

                                                                    Parkway               Santa          Clara

                                                                    CA      55054

                                                                   tel       1-408-ii3lJ-5l24

                                                                    fax       1-408               773      9905
                                                                   email             berniceW

                                                                    atheros.cOni

                                                                    URL        www
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                    802.lli        Cisco                            Dali     Lung            Direeliui                     nut      indIcated          10      Jail      yes         12         Jul



                                   Systems Inc                      Patents                 Standards                                                        02                           07

                                    lloWTasrnan                     IPR       Legal         Dept
                                    Drive         San       Jose   tel       i-i      408         526-6672

                                   CA       95134                   fax      1-408-526-5952

                                                                    email            standerds-lpr
                                                                   clsco.com




                    802.131         VDG Inc                         Or      VirgIl               Gilor                            penduri9             21      Jan       yes        25      Jan


                                    6009         Brookslde          President                                               applicatIons                     02                           132



                                    Drive         Chevy             phone
                                   Chase          140               1-301-657-1955

                                    20815


                                                                              Eernkopf                                    10/424803               US                                16      Jun
                    802.111         Intersil          Corp          Paul                                                                                      Jul        yes

                                    2401         Palm        Bay    Chiet      If                                                                            02                           03

                                    Road         NE     Pairs       Counsel                                                                            updated

                                    Bay     FL     32905            phone                                                                                    3111



                                                                    1- 32 1-72               9-4719                                                          QJ

                                                                    email            pbernkopr5d

                                                                    Irltersllcom



                                                                    Dan                                                             indIcated                Nov                          Nov
                    802111          Trapeze                                  Crexugem-Chief                                1101                                          yes

                                                                                                                                                                                          02
                                    Networks                        Pin    ancial                                                                            02

                                    5753              Las           orrirer

                                    7oitas         Blvd             tel      1-925-474                     2206

                                    Pleusunton               CA     tax            1-925              251-0042

                                    94588                           email            dxnc@

                                                                    trapenenet              works

                                                                    corn




                    802lli          Agere                           Caroline                     LIotI                     riol      Indicated           JdJr            yes               Apr

                                                                                                                                                                                          C3
                                    Systems Inc                     Manager
                                    1100         American           Licensing                    IP      Rcxm

                                    Parkway             NE          12C-350
                                    Allentown            PA         tel      1-610                712-3474

                                    18109                           fax       -11-610                 712-3467

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                 802    lii         IBM Corp                      Gerald                         Lane-         Director     5073318           US   Z..2ip           yes            May
                                    North          Castle         of                                                                                   ci2                         03

                                    Drive          Armonk          Standards                           irrteiiectuai



                                    flY      10804                 Property                           Ucensing

                                                                  tel           1-914                   765-4369
                                                                  fox             -r-1-904-765-4330

                                                                  email                    gtlane@
                                                                   us lb             rn     corn



                 802.111            Symbol             Tech-      Aaron                   bernstein                         not   IndIcated        JJ..Ap.i         yes       24    lxi


                                    nologies                Inc    -VP                    Deputy                                                                                   06

                                    One       Symbol              General                       Counsel            Legal

                                    Plaza                          Dept

                                    l-loltsvllle            NY     MS A-6
                                    11742-1300                     tel                          631-738-4055
                                                                   frr            ii            611-738             41111

                                                                  email                    aaron

                                                                   bernsteln@

                                                                   symbol .com
                                                                   URL               www
                                                                  symbol                    corn



                 002.111            Toshiba            Corp        Masayukl                                                 not   indicated        /2OcX            yen       29    Oct


                                                                   Mlyanaga                          Group                                                                         07

                                                                   Manager                        Intellectual


                                                                   Property

                                                                   Group                    Research

                                                                   Plann                  ng

                                                                   Office                  Corporate

                                                                   Research


                                                                   Development                             Center

                                                                   Komukal-Toshiba-cho
                                                                   581mW                    ku        Kemasaki
                                                                   212               8582             Japan
                                                                   tel           81-44-549-2055
                                                                   fax            81-44-520-1303

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                 502.111            2uniper                        Scott              Cooresti-               Director       12/350649             2pyg             yes            Aug
                                    Networks                       of     111                                                                          92                          09

                                    Inc                            Litigation                        and

                                                                   Licensing                          cegal

                                                                   1194                          liathildu

                                                                   Avenue

                                                                   Sunnyvale                          CA      94069

                                                                   tel                      408-936                4072
                                                                   tax               -1-408                747-4278
                                                                   email                   scoonan
                                                                   Junipernet



                 8028      Ii       Electronics                   Joong                    won        Cho       tOtent      not   indicated                   Dec   yes      23     Dec

                                    and       Tele-                Counsel                       tntellectual                                          97                          09

                                    comin-                         Property

                                    unicutions                     Management                              Team
                                    Research                       135 Gajeongno
                                    Institute                     YUsecrlg                                 Daejeon
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                                                                   Korea
                                                                  tel            82-42-860                         0757
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                                                                   3-52-42-660                                 3631

                                                                   email                   JWOO9
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                 802.11k            Philips                        Michael                      Schmitt                     not   indicated        4j.j5rj                   30
                                                                                                                                                                    yes             Apr
                                    Semiconci-                     Principal                     Attorney                                              03                          03

                                    uctors            Inc          PhIlips                 Corporate

                                    111011            Mrxrjrip     tnteiiectrja


                                    Aeenue                         Property                       580       White

                                    Sunflysale              CA     Plains                 Pd         Tarrytown
                                    94085-2510                     93 10591
                                                                  tel                       914          332       0222


                 802.11k            TrapeZe                        Dan           Creager                   Chief            not   Indicated        Lrn              yes            ice
                                    Networks                       FInancial                                                                                                       03




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                                   3753                Las               Officer      tel

                                   osltas             Blvd               1-925-474-1206

                                   leasanton                 CA          fax      1-925-151-0642
                                   94598                                 email        danc@

                                                                         trapezenetworks
                                                                         coil



                    802.11k        Motorola                              Letortia      Gordon-                        not   IndIcated   jtAg.t        yes             May
                                   1303                                  Intellectual                                                        115                      05

                                   Algonquin                             Property          Licensing

                                   Road                                  tel      1-847-576-3055

                                   Schaumburg                      IL   fax       1-847-538-3666

                                   61196                                emaIl         latonlo.gordon@

                                                                         motorolacom


                                   LPR      Ucenclnq                     Donald        ii Boles-VP                    not   IndIcated   31     l4xv   yes       31     May
                1802.11k
                                   Inc           3411                   ChIef                                                                05                       05

                                   Sllverslde             Road           Potent       Counsel

                                   Concord                              tel       1-610-878-7865
                                   PIaa-Suite                           fax       1-610-878-7844

                                   105           Hagley                 email        donald.bolestdt

                                   Bldg                                 ltxterdlgltal.com

                                   Wlimlngton                01

                                   19810


                    802.11k        Interdlgital                          Donald                Boles-VP               not   indIcated   5.Jjy         yes       31     May
                                   Tech-                                ChIef                                                                05                       05

                                   nology             Corp              Patent       Counsel

                                   3411          Silveride              tel      4-1-610-878-786S

                                   Road          Concord                fax       1-610-878-7844

                                   Plaza-Sult                           emaIl        donaict.boles@

                                   105           Hagley                 lriterdiqltal.com

                                   Bldg

                                  Wilmington                 LIE



                                   19810


                    802.11k       AutoCell                              Paul      Callahan-            Director       not   Indicated   .LLQcL        yes        14    Oct

                                  Lalor-                                of                                                                   Os                       05

                                  atones               125              LicensIng

                                   Nagoy          Park                  tel      1-978-264                4884
                                   Drlse          Acton        MA       fax       -t1-9/8-2b4-uf6l
                                  01720                                 emaIl        pcallxhaniyi

                                                                        autocellcom                  URL
                                                                        www
                                                                        autocall          corn




                    802.11k       Cisco                                 Dan       Lang-        Director               not   IndIcated   L05r          yes        12    Jul



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                                  Systems Inc                           Patetits       and       Standards                                   05
                                  170W Tasman                           IPR       Legal        Dept
                                   Drive          San      Jose         tel      1-408-526-6672
                                   CA      95134                        fax       1-408           526-5952

                                                                        email        standards-lpr5

                                                                        clsco.com




                    802.11k        Intel         Corp                   AJTN         Standards                        not   specified                 yes       35     May

                                   5200          NE    11am                                                                                  05                       06
                                                                        LIcensing

                                  Ycunq Parkway                         Department
                                  MS JF2-98                             tel      1-503-712-3J97

                                   1-illIsboro         OR               fax          1-503-264-2765
                                  97124                                 cmxli        standards

                                                                        licensing

                                                                        @irrtel.com              URL
                                                                        www.lntel.com/

                                                                        standards/

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                    802.11k                            Tech-            Aaron        Bernstein-VP                     not   Indicated   .i.jAgI       yes        24    Jul
                                  Symbol
                                                          Inc                                                                                05                       06
                                  nolctgies                             Deputy
                                  One       Symbol                      General           Ccajnxel        Legal


                                   Plaza                                Dept

                                   iloltsvllle            NY            MS A-6             tel

                                   11742           1300                  1-631-738-4055

                                                                        fax         1-631-738-4111
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                                   Espressway                            Dept
                                   North          Suite                  tel      1-512-611-9542

                                   A400           AustIn                 fax      1-502-651-9537




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                    50211k                                     Thomas                                           VP                                            03irl
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                                      mc 5/75                  Chief                                                                                               ILL                              17/



                                      Morehouse                Patent                Counsel              Leg1
                                      0396      San            tel          1-858               651-5732

                                      Diego     C/i            fax              1-858-653-2502
                                      92121                    email                 trouseltl


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                    802.11k           Airespace                Gene              VoOri        Grnienol                            riot    Indicated            IL.GS              yes                 Sep
                    502.13r           Inc 110                  Counsel                                                                                              0t                               04

                                      dortech                  tel              1-408-635                      2000

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                                      Systems Inc              Patents                 and         Standards                      8006110             US           04                                07
                                      170 West                 IPR              Legal        Dept                                       101399        US      20         Sep
                                      Teeman          Drive    tel                     403-526                 5872               5144711             US            08

                                      San     Iosr     CA       Sn              1-408-576-5957                                    61     58041        119



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IEEE-SA    IEEE      80211       and Anrndmcnts                    Patent              Letters            of Assurance                                                           I/standards                                                  11 .html
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                  802.lln           8anyo        Electric           Nagatoshi                 Suglhara-                  not     Indicated              I2Mrr           yes          16        Mar
                                    coP      Ltd                   General                                                                                    94
                                    1-18-13                         Manager                  IP    Dept

                                    ylashlrldanl                   Technology

                                     lirakata         City          RD Headquarters
                                    Osaka                          tel

                                    573-8534                        01l-Bl-72-S41-7882

                                    Japan                          fax

                                                                    011-81-72-841-7872
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                  802lln            8gere                          Vlren                 Iathare                         not     indicated             .1.3Sp                        13
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                                    Systems            Inc         Manager                                                                                   04                           04
                                    1100       AmerIcan            Licensing                 IF     Room

                                    r5rrkway          NP           12C-          347
                                    Allentown           PA         tel      1-610-712                        6906

                                    16109                          fax       1-610-712-3467

                                                                   email              patharelyx

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                  802.lln          Philips                         Michael             SchmItt                           riot   Indicated              j2Ajig                        17 Sep
                                                                                                                                                                        yes

                                   Semicond-                       Principal                                                                                 04                           04

                                    uctom         Inc              Attorney                  PhIlips

                                    6000          Maude            Corporate

                                   Avenue                          Intellectual                   Property

                                   Sunnyvale             CA        580      White

                                   94085-2810                      Plains        Rd          Tarrytown
                                                                   NY      10591

                                                                   tel     1-914-332-0222

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                  802.lln          QUAL-                           Louis                LApIn-senior                     not    indicated              20         Oct   yes          21        Oct

                                   COMM tnt                        VP                                                                                        04                           04

                                   5775                            General             COueSel             Legal

                                   Minrehotice                     Department
                                   Drive        San                tel     1-858-567-1121

                                   Diego        CA                 fax      3-858-658-2503
                                   92121-1714                      email          ilupinra

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                  802.1    In      France                          Mr      tuc        Savage-                       DO     0511141                GB   i6     Nov       yes          22        Jul

                                   Telecom                         Intellectual                                      0511141                GO               04                           10

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                                   F-92794            Cedex        FT/RD/Ply                      tel                2675971                 Hl

                                      issy      Len                33146296108                                       1007841                 US

                                   Moulineaul                      fax 33145296560                                          5446747

                                   France                          email          luc.sevage@

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                                   Marconi                         Manager                                           0511141                GB               05                           05

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                                   CEDEX                           fax           33387763363                        60231038.7                    FR

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                  302.ltn          Nortel                          Mark       I-learn              IP                7061854                 US        16     Dec       yes         30         Jan


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                                   Lakeside           Blvd         fax           1-972-064-3888                     2006-0242534                            06
                                   Richardson                                                                        6891897                 15        26     Apr

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                                   1303                            Intellectual                                                                             0.5                           05

                                   Algonquin                       Property             Llce0slsg

                                   Road                            tel     1-847-576-3055

                                   Schaumburq                 IL   fax           1-847-538-3666
                                   60196                           email          latonia.gordont5l

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                  802.lln          Intel      Corp                 Office        of     General                      not        Indicated              JJota            yes         13     Jan

                                   2200       Illsslos                                                                                                      94                            05
                                                                   Counsel

                                   College       Blvd              tel     1-408-715-1859

                                   Santa       Clara         CA    fax           1-408-765-1125




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                   802.lln            Toshiba         Corp         TaISUKO            Kffio                              not    Indicated          Apr        yes       21     Apr
                                               Shibaura            Intellectual                                                                   05                          05

                                      1-cixome                     Property             DIvisIon

                                      Mirlato-ku                   tel        81-3-3457-2500

                                      Tokyo                        tax         -i-81-3-5444                   9213

                                      105      8001                emaIl             talsijke.kaloffl

                                      Japan                        toshlba.co.jp                      URL
                                                                   www
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                   802lIn             ATT        Corp              Joseph                    Sommer                       6018528                  1109       yes             Sep

                                      180      Park                Executive                                               5064662                05                          08

                                      Avenue                       Director             PeterS                            6088408            ituop
                                      Fiarham Park                        icensing                                         611     5477
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                   802.lln            Hughes                       General             Counsel                Legal      not     indicated   15        Dec    yes       19     Dec
                                      Network                      Dept                                                                           05                          05

                                      Systems LIC                  tel        1-301-601-7315

                                      11717                        tax         1-301-428-2818
                                      Exploration                  email             dmanson@

                                      Lane                         linscom
                                      Germant         owe
                                      MD      20875


                   802.110            STVlicro-                    Lisa              Jorgenson-Vire                      not     Indicated   20        Dcc    yes       21     Dec

                                      electro-                     President                  IP                                                  05                          05

                                      nics       Inc               Licensing

                                      1310                         tel        1-972-466                       7411

                                      Electronics                  tax         -xl      972         466       7044
                                      Drive                        email             Sea
                                      Carroilton        TX         jorgenson@
                                      150lJ                        st.com



                   802   110          Alrgo                        David                 JoOnsop-Clilel                  not     indicated   11                         15     May
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                                      Networks                     Operating                  Officer                                             05                          06

                                      Inc       900                tel        1-650-475-1912

                                      Arastrodero                  tax         1-650-475                      1708

                                      Road       Palo      Alto    email             drj@
                                      CA      94304                airgonelworks

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                   602   tIn          Symbol          Tech-        Aaron             bernstein-VP                                 noicated             rhyr   yes        24        JUl



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                   802   110          Broadcom                     II       Shannon                Tyson                 riot    indicated   jL_Qi.j                     17        OcI
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                                      Corp       8303              Director             of    Intellectual                                        th                          CS

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                                      Expressway                   Standards                   Suite          5410

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                                      TX 7e75v                     tax                  512         6.51      9537
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IEEE-SA   IEEE      80211      aii Antndincnts          Patent                 Letters              of    Assurance                                   httpI/starxlards.iccc.org/about/sasb/patcompat8O2_L            1.html




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                  802.lln          iluawel Tech-         Director              of     Licensing                  not     indicated                                    Jan
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                                                         Shen2hen                     518129             PR
                                                         China              tel

                                                         86-755-28787136
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                 802.310          Aware          Inc     Kevin                 Russell-VP                         tot   Indicated                    yes              Feb

                                                        General                                                                                                      07

                                                        CoUnsel                  40     MIddlesex

                                                        Turnpike                  Bedford            MA

                                                        01730

                                                        tel         -f-1-78t-687-0335

                                                        fax              1-781-687-0430

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                 802.110          Research         In   BrISO             Rivers-VP            of                not    Indicated    LltJjAfl       yes         17        Jul



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                                                        tax          1-519-803-4914
                                                        email

                                                        brlvem@rlm.com


                 802.1   in       Sony     Corp         Torn             Ito-SenIor                             not     indicated    J1Jt..0.Z      yes         23        Jul


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                                                        1-7-1             Kotian

                                                        Minato-ku                     Tokyo

                                                        108-0075                  Japan
                                                        tel         --81         36740              3S05
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                                                        -ti     81-3-6745-3544
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                 802.lln          Atharos               Bernice                     Chen-                       not     Indicated     3.4j.i        yes         24        Jul



                                  Communi-              Director                                                                          07                         07

                                  Catlons        mO     of     If        Legal         5480         Great

                                                        America                Parkway
                                                        Santa             Clara

                                                        CA      95054
                                                        tel         1-408-830-5724
                                                        fax          1-408-773-9009

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IEEE-SA   IEEE    80211         and    Aincndnients        Patent            Letters           of       Assurance                              http//slandards.iccc.orglaboulisasb/patcornpat8O2l                      html




                 8021     in          Inter-                Bruce                 BernsteIn-                   not   indicated        7Fb      yes             Feb


                                      Digital    Tech-     General                                                                                             08

                                      nnelogy     Corp      Patent          Counsel            Patents


                                                            Department                  Suite       105


                                                            Hagley

                                                            Bldg           3411        SlIveiside

                                                            Road
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                                                            Wilmington

                                                            DE     19810
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                 802.lln              Panasonic             iakeshl           Goto-Senior                      6608068           US   fiJ9ar   yes        24    Jul

                                      Corp                  Coordinator                 PanasonIc              6748023           US    09                      09

                                                            Corp                                               6738430           US

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                                      Electric     Corp     tianager              Corporate                                             09                     19

                                                            Licensing              Division

                                                            2-7-3           Marunouchl

                                                            Cfliyocla-ku              Tokyo

                                                            100-8310                  Japan
                                                            tel      81-3-3210-3465
                                                            8a        81-3-3218                   2474
                                                            email            CldGnneral

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                                                            Inc-Legal

                                                            5488           Marvelt       Lane
                                                            Santa           Clara

                                                            CA     95054
                                                            tel      1-408              222-2500

                                                            fax       1-408-222-2755
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                 802     tIn          kalink     Tech-      Ellen                 196     Legal                not   indicated                 ye              Sep
                                      nology      Corp                                                                                                         09

                                                            196       Legal          Department
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                                                            110      36       Talpean          Street

                                                            ihuhel           City

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                                                            302       Taiwan                OS
                                                            tel      886-3-5500868
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                                                                        6100        Legocy           Drive

                                                                        Piano       IX 75024

                                                                        tel      1-972-583-9446
                                                                        email          anna.johnsl5l

                                                                        ericsson         .com


                  802.1      In                                         lsamu          Yoshlmatsu-                                    PCT/JP                  IIJIai          yes        15    Nov
                                         Nippon
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                                         Corporation                    intellectual               Property                   7400618               CS

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                                                                        Musashlno-shi                     Tokyo                2515537             EP

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                  1102.llr               Motorola                       Latotlia         Gordon-                               not     Indicated              21    Apr       yes             May

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                                         Algonquin                      Licensing

                                         Rood                           tel      1-847-576                     3055

                                         Schaxmburg               IL    tax       5-847-535-3666
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                                                                        motoroia.com


                                                                                                                               not     indicated              15    Nov                  16    Nov
                  502.11r                Trapeze                        Ed     Wes-IP          Counsel                                                                        yes

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                                         Networks                       Perkins

                                         Inc                            Cole       LLP       103        Jefferson


                                                                        Drive
                                                                        Menlo          Park        CA     94025
                                                                        tel              650-838-4332

                                                                        tax            1-650-838-4350
                                                                        email            ewes@

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                                    Voting        Parkway            tel      1-503-712-3397
                                     MS JF2-98                       lax      1-503-264-2769

                                     lillisboro        OR            email
                                    97124                            standards.licensing@

                                                                     Intel    .com
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              802     hr            Symbol             Tech-         Aaron          Bernstein-VP                           not   indicated                        yes        24         Jul

                                    nologies             Inc         Deputy           General                                                                                      06

                                    One      Symbol                  Counsel            Legal           Dept

                                    Plaza                            MS 8-6
                                     HoItsyille          NY          tel      1-631-738-4055
                                     11742         3300              tax               631         738-4110
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              802111                MiCrosoft            Corp        Standards Repuests                               US   2004       0243846       2.Q2ijia      yes        21         Feb

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                                                                     98052-5399
                                                                     tel              425-707-1911
                                                                     las       -rl-425             936-7329

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                                    Limited                          of Licensing               and

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              807.1     Or          Quill-                           fliomrrs                Rouse            VP           not   indicated          U.Se0         yes        54     Sep
                                    comm           InC               LilreI                                                                                                        07

                                    5775                             Patent          Counsel             Legal

                                    Moreirouse                       tel      1-555-651-5732
                                    Drive         Sun                fax               858         658       2502

                                    Diego         CA                email            trousetOr

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                                                                    tel               973       235       6300
                                                                     fax            1-973-360                5800
                                                                    vmii             Jmcommor
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              802.5     is          Motorola                         Latonja          Gordon                               not   indicated                        yes              iSay

                                    1303                             Intellectual             Property                                                                            005

                                    Algonquin                        Licensing

                                    Road                            tel       1-847-576-3055

                                    Sciiaurnburg               IL   fax       -f       847         538-3666




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                                                                        motorola.cani




                      802115              Apple                         Mark     Aaker-Le9al                        6069887            US    10         Oct   yes        11        Oct

                                          Computer                     Dcpt                                                                       OS                          05


                                          Inc            fulnite       tel              408-974-4347

                                          Loop Cupertlno               fax       1-408-974-5436
                                          CA 95014                     email          aekeriBt

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                      802.1   lv          irrapeze                     Ed      Wes-IP         Counsel               not    indIcated        15          Nov   yes       16         Nov

                                          NeIworks                     Perkins                                                                    05                          05

                                          Inc                          Cole      LIP      101      Jefferson

                                                                       Drive          Menlo       Perk     CA

                                                                       94025
                                                                       tel      1-650-838-4302

                                                                       fax       1-650-838-4351
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                  802.1       Is          Intel       Corp             Office      of the        General             not       specified    13          Dec   yes       22         Dec

                                          2200        MIssion          Counsel                                                                    05                          05

                                          College        Blvd          tel      1-409-765-1859
                                          Santa       Clara      CA      ax             408-765-1125
                                          95052                        emaIl          earl.nledl5

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                                          Systems Inc                  Patents

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                                          Drive        San      Jose   legal       Dept
                                          CA      95134                tel      1-408-526-6672
                                                                       fax      1-408-526-5952
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                 802.IIS           Qusl                    Thomas                     Rouse        VP         not     Indicated                  3jrji         yes             Jul



                                   comm Inc                Chief                                                                                                               07

                                   5775                    Patent            Counsel            Legal
                                   Morehouse               tel

                                   Drive     San           1-858-651                      6732

                                   Diego     CA            fax       1-858-658-2502
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                                                           Standards                   305      Phillip



                                                           Street             Waterloo           ON
                                                           fill      3W8          Canada           tel


                                                           1-519-888-7465
                                                           fax       1-519-683-4914
                                                           email             briversd

                                                           rim    .com


                 802155            Fujitsu                 Slirgeru            Kltario-Generol                      Al 2004-                                    yes       10    Sep

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                                                           Unit             1-1                                0152305            US
                                                           Kamikodanake                                     A-2005-117656                   IP


                                                           4-chome                 Nakahara

                                                            Kawasaki                  Kanagawa

                                                           211-8588                   Japan
                                                           tel       81           44-754-3050
                                                           tax         81-44-754-3842
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                                                           jp     tlijitsu.com

                                                           URL              wwPrtujitsix

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                 802.lls           Toshiba                                                                                                                                       Oct
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                                                           Office             Corporate

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                                                            Development                      Center
                                                            Komukai

                                                           Toshlba-cho

                                                            Saiwai            ku       Kuwasaki

                                                            212-8582                   Japan
                                                            tel      81-44-549-2055

                                                            tao        81-44              520-1303
                                                            email             masoyukl
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                 802.lls           Inter-                   Bru                   Bersteln-                                                                     yes             Feb

                                   Digital        Tech-     General                                                                                                            ow

                                   nology         corp      Patent            Counsel           patents


                                                            Department                    Suite       105

                                                            i-iegiey          Bldg           3411
                                                            Siiverslde                Road
                                                            concord               Plaza

                                                           Wlirnirigloe                 DL      19810
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                                                                tel       33-1-3963-5459                               8505023           DE

                                                                    fax                                               59422452

                                                                    33-1-39-63-5114                                    9204032           El

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                                                                Property              Dept          Sanno
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                                                                Tower          36th          Floor

                                                                2316
                                                                Nagata-cho                   Chlyodaku

                                                                Tokyo          100-6150                 Japan
                                                               tel        81-3-5156-1899

                                                               fax        81-3-5155-0233
                                                                URL www
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                  802lls            Thomson           S.A       Elizabeth              Marl        VP                 not    specified          jJloQ        yes          14        Jul


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                                                               Independence                       Way
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                                                               thomson                net




                  802lls            LG      Electronics        Saeng           Gyu          leon-Vice                 not    specIfIed                       yes         24     Dec
                                    Enc                        President               Intellectual                                                   06                       08

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                                                               Korea           tel



                                                               i-    82-31-450-7838
                                                               email           leososood

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                                                               URL           www.lge.com


              802Us                 Konirsktijke               Larry         Llberchuk-Seslnr                        not     Indicated          tLn          yes         15     Jan

                                    Philips                    IF                                                                                     16                       00

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                                    flies     NV               Property                 Standards
                                                               Philips         Electronics                NA
                                                               Corp 345                 Scarborough

                                                               Road           tilaJIff

                                                               Manor           MV      10510

                                                               tel        1-914-333-9602

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                                                               larry.llberchuk@

                                                               phlllps.com



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                  502.ils           Siemens                    I-Inns        berg                                                               .1    .Lob   yes

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                                    Inc                           Property                 Legal             1344               83830
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                                                                  Sunnyvale                     CA     94069

                                                                  tel        1-408                  419       4167

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                  802lls                                          Uirouhi             Kamitani                 It             not    Indicated         13Jtl.ot      yes     16         May
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                                    oration                       Alliance                      licensing                                                   jJ                         11


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                                                                  108-0076                      Japan
                                                                  tel        81-3-6748-3505

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                                                                  1-81               -3-6748-3544
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                                                                  Kamitanl@

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                  802.116           Marvell                       Horace              Ftg-        Orrector          of        not    Indicated                       yes     10         Sep

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                                                                  Inc.-       Leg      ai

                                                                  5488              Macveil           Lane

                                                                  Santa              Clara


                                                                  CA         95054
                                                                  tel        1-408-272-2500
                                                                  fax         1-408-222-2755
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                  8021     lv       Broadconx                     Jeffrey                       Wheeler                       not    Indicated          3UtCL        yes                Oct

                                    Corporation                    Director                of    Intellectual                                               II                         11

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                                                                  Group               Legal            5300

                                                                  Cxiifornlu                    Avenue
                                                                  Irvine             CA         92617

                                                                  tel        1-949-926-5473

                                                                  fax         1-949-926-6276

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                                                                  broadcorncom                               URL
                                                                  www.broadcurn.com


                  802.llu           Intel         Corp            AlTO               Statmdarris                               not    specified        jJ79y         yes      15        May
                                    5200          NE Elam          Licensing                    Department                                                  06                         06

                                    Young Parkway                 tel        1-503-713-3397
                                    MS JF2-98                     fax                1-503           204-2769
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                  802.11x           Cisco                          Dan        Lang-                  rector                   not     Indicated        30     May    yes          12        Jul



                                    Systems Inc                    Patents             and           Standards                                              06                         C7

                                    170W Ta.sman                   tPR              eel         Dept

                                     Drive        San    Jose     tel        -ri       40e-526-6672

                                    CA     95134                  tax         1-408-526                        5952

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                      502.llu         Inter                   Bruce                    BernsteIn-                             not     indicated               4_fob      yes         8Feb

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                                      nology      Corp        Patent              Counsel               Patents

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                                                              Concord                 Plaza

                                                              Wilmington                        01     15510

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                                                              tel      62-31-450-7838
                                                              email               j000gsoo@

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                                                              Group               Legal           5300

                                                              California                   Avenue
                                                              Irvine             CA        92617
                                                              tel      i-t-949-926-543

                                                              fax          -f    1-949-926-6221
                                                              email               lwiieeler@

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                                                              www.broadcom.com




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                                    Nagog         Park              fox        1-978-264-0766
                                    Drive         Acton        MA   email             pcallaheni5

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                  802.118           Trapeze                          lId     WCS-iP Counsel                           not   Indicated   .11         boY     yes        15     Nov

                                    Networks                         Perkins                                                                  4Th                            05

                                    Inc                             Cole        LIP          101        Jefferson

                                                                     Drive           Menlo           Park      CA

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                  802.1    iv       Cisco                            Dan       Lung-               Director           not   indicated   11          Apr     yes         12        Jut



                                    Systems Inc                      Patents                                                                  Os                             07

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                                    OlIve         San     Jose       Legal          Dept
                                    CA     9513                     tel       1-408-526-0672
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                  802.11v           Intel        Corp               ATTN             Standards                        not   specified   ILII3Y               yes       15     May
                                    5200         WE 11am             Licensing                   Department                                                                  06

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                                    MS JF2-9a                       ran        -f    1-503-264                 2769
                                    ilitisboro         OR           email              standards

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                                    nologies   Inc                   Deputy             General                                               06                             06
                                    One Symbol                      Counsel                  Legal

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                  802     ii        Motorola                         Laton              Gordon                        not   indicated   JiAuci               yes        3Oct

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                                                                    Santa            Clara          CA

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                                                          Tokyo        100-6150               Japan
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                                          Inc         5775              Chief           Patent            Counsel                                                                  07
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                                   Inc 5775                  QTL        Patent           Counsel                                                                     11

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                                                             Suite            105      Hagley

                                                             BuildIng                 3411

                                                             Silverslde                Rood
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                                                             Wilmington                    LiE     19930
                                                             tel                     610-878

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                                        Comm            Inc         Chief        Patent        Counsel                                      09                     09

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                                        Ilorehouse                  tel       1-858-651-5732

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                  802.1   Inc           Cisco                                  Lang

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                                        Systems Inc                  President

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                                        San      Jose     CA        tel        1-408-526-6672

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                                                                Suite            105         Elagley

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